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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                     WEST PALM BEACH DIVISION

  TTT Foods Holding Company LLC,
  a Florida limited liability company,
                  Plaintiff,
  v.                                                       Case No.: 9:16-cv-81798-DMM

  BEATRICE NAMM, an individual,
  JONATHAN NAMM, an individual,
  and DELUXE GOURMET
  SPECIALTIES LLC, a New Jersey
              Defendants.
  _________________________________/

      DEFENDANTS’ RESPONSE TO PLAINTIFF’S STATEMENT OF UNDISPUTED
      MATERIAL FACTS IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT

          COME NOW the Defendants BEATRICE NAMM (“Mrs. Namm”), JONATHAN

  NAMM (“Mr. Namm”) and DELUXE GOURMET SPECIALTIES LLC, a New Jersey limited

  liability company (“Deluxe”), by and through the undersigned attorneys, and file this their

  Response to Plaintiff’s Statement of Undisputed Material Facts in Support of Motion for

  Summary Judgment, as mandated by Local Rule 56.1, and state in support thereof as follows:

                   1.        Defendants do not dispute the statement made by Plaintiff in Paragraphs 1,

  2, 3, 4, 5, 6, 7, and 8.

                   2.        As to Plaintiff’s Paragraphs 9, the statement is true, but misleading

  without clarification. The clarification follows: Plaintiff was repeatedly instructed by Mrs.

  Namm to contact the customers and advise them that the Judgment Debtor is the company doing

  business, not Deluxe, and to instruct the customers to forward payment to the Judgment Creditor

  not Deluxe. Plaintiff refused to do so. Instead, Plaintiff continued to cash the checks and other



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  deposits made payable to Deluxe, endorsing many of the checks as “Twin Tower Trading Inc”

  and/or “Bea’s Brooklyn’s Best LLC”, and depositing them in Bea’s Brooklyn’s bank account.

  Attached to Mrs. Namm’s Amended Affidavit as Exhibit “F” are the copies of those canceled

  checks verifying Plaintiff deposit of the aforementioned checks made payable to Deluxe between

  2012 to or about March of 2015. Plaintiff controlled and knowingly and intentionally made the

  deposits of all checks owed to the Judgment Debtor, whether or not the check was made payable

  to Deluxe or the Judgment Creditor, including, but not limited to, all the checks in Exhibit “F”,

  until March of 2015. See Amended Affidavit-Mrs. Namm at ¶85.

                 3.      As to Plaintiff’s Paragraph 10, Defendants deny the first sentence of

  Plaintiff’s Paragraph 10. The transcript speaks for itself and do not support that statement. See

  Amended Affidavit-Mrs. Namm at ¶86. As to the second sentence, Mrs. Namm did testify to that

  affect but she was mistaken. The reason why those checks were deposited in Deluxe was

  because the checks were made payable to Deluxe. See Amended Affidavit-Mrs. Namm at ¶86.

                 4.      As to Plaintiff’s Paragraph 11, records for account ending in 6618 speak

  for themselves. Furthermore, it was common practice of the Judgment Debtor, since 2012, to

  receive checks made payable to Deluxe. Plaintiff had the ability to deposit in the Judgment

  Debtor’s account checks made payable to Deluxe, but Mrs. Namm did not have the banking

  connections that allowed her to do so, so she had to deposit the Deluxe checks in the Deluxe

  bank account. See Amended Affidavit-Mrs. Namm at ¶87.

                 5.      As to Plaintiff’s Paragraph 12, Mrs. Namm made the statement but she

  was mistaken. See Amended Affidavit-Mrs. Namm at ¶88.


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                 6.      As to Plaintiff’s Paragraph 13, that is untrue; the Notes were not in default

  on April 27, 2015, as self evident from the notes themselves, as well as the letter referred to as

  Exhibit 8 by Plaintiff, but which in fact is marked as Exhibit 9. See Amended Affidavit-Mrs.

  Namm at ¶89.

                 7.      Defendants admit Plaintiff’s Paragraph 14, except that Defendants’

  position was in the State Court that there was no default under the Notes. See Amended

  Affidavit-Mrs. Namm at ¶90.

                 8.      Defendants do not dispute the statement made by Plaintiff in Paragraphs

  15, 16, 17, 18, 19, 20, 21, and 22.

                 9.      As to Plaintiff’s Paragraph 23, any transaction after Mrs. Namm’s

  resignation would have been part of the winding down of the business; the last check cleared on

  June 26, 2016, for an invoice mailed on May 15, 2016. See Amended Affidavit-Mrs. Namm at

  ¶91.

                 10.     Defendants do not dispute the statement made by Plaintiff in Paragraphs

  24, 25, 26, and 27.

                 11.     As to Plaintiff’s Paragraph 28, the statement is not true. While Deluxe and

  JMT operated out of the indicated address, prior to March of 2015 the Judgment Debtor operated

  out of Florida. See Amended Affidavit-Mrs. Namm at ¶92.

                 12.     As to Plaintiff’s Paragraphs 29, 31 and 32, Plaintiff’s statements are

  misleading and inaccurate. Deluxe was not in business after 2012 and as such, had no customers

  and did not sell anything after 2012. The fact that customers made their check payable to Deluxe


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  did not change that fact. Deluxe did not do business after 2012. See Amended Affidavit-Mrs.

  Namm at ¶93.

                 13.    Plaintiff’s Paragraphs 33 and 34 are untrue. Deluxe is not the same

  company as the Judgment Debtor, and “Deluxe Gourmet” or “Deluxe Gourmet Specialties” are

  not separate companies, but refer to Deluxe. The amounts shown on Exhibit 19 are payments

  belonging to JMT that were made payable to “Deluxe Gourmet” or “Deluxe Gourmet

  Specialties” by mistake and were properly deposited or transferred to the JMT’s bank account.

  See Amended Affidavit-Mrs. Namm at ¶94.

                 14.    As to Plaintiff’s Paragraph 35 is untrue. See Amended Affidavit-Mrs.

  Namm at ¶95, where Mrs. Namm explained that when she saw that Kaltec (one of the

  manufacturers for the Judgment Debtor) invoice due dates were approaching, she would

  withdraw funds from the Judgment Creditor’s account and deposit them into Deluxe account

  ending in 6618 to combine Deluxe and the Judgment Creditor’s monies together to complete the

  amount of monies owed. Since Kaltec was a TD bank customer (and to save her wiring fees)

  Mrs. Namm would sometimes deposit the cash into the Deluxe bank account then ask for a

  deposit slip and deposit funds right into the Kaltec’s TD Bank account ending 5492 and then

  confirm with Lisa, a person in their accounting department, that the funds went through.

                 15.    As to Plaintiff’s Paragraph 36, Mrs. Namm stated in her Amended

  Affidavit-Mrs. Namm at ¶96that she understood the interrogatory to be asking about transfer of

  personal property, not monies or checks, and that is the way she answered that interrogatory.

  Mrs. Namm noted that the very next interrogatory requested information on “money” and at that


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  time the Judgment Debtor had provided all its books and records and whatever bank records were

  in its accountant’s possession, as well as his accountant’s deposition had been taken by the

  Plaintiff.

                   16.   Defendants do not dispute the statement made by Plaintiff in Paragraphs

  37, 38 and 39.

                   17.   As to Plaintiff’s Paragraph 40, that statement is untrue. Deluxe did not

  transfer the $118,737.56 to or for the benefit Mr. and Mrs. Namm. See Amended Affidavit-Mrs.

  Namm at ¶97.

                   18.   Defendants do not dispute the statement made by Plaintiff in Paragraphs

  40 and 41.

                   19.   As to Plaintiff’s Paragraph 43, the transcript speaks for itself.

                   20.   Defendants do not dispute the statement made by Plaintiff in Paragraphs

  44. JMT has nothing to do with the Judgment Debtor and is a separate and distinct company

  with separate and distinct products. See Amended Affidavit-Mrs. Namm at ¶98.

                   21.   As to Plaintiff’s Paragraph 44, Plaintiff’s Exhibit 25 purports to state that I

  took $120,075.32 from Judgment Debtor; that is not true. From the $120,075.32 on Plaintiff’s

  Exhibit 25, the amount of $75,347.19 consisted of business expenses of the Judgment Debtor,

  leaving $44,728.13 which was provided to Mrs. Namm to reimburse her for her loan to the

  Judgment Debtor and part of her compensation. Mrs. Namm composed a list which states the

  purpose for each withdrawal, which is attached as Defendants’ Exhibit “C” her Amended

  Affidavit. See Amended Affidavit-Mrs. Namm at ¶79.


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                 22.     As to Plaintiff’s Paragraph 45, Plaintiff’s Exhibit 26 purports to state that

  Mrs. Namm took $119,105.88 from Deluxe; that is not true. From the $119,105.88 Plaintiff’s

  Exhibit 26, the amount of $68,933.53 consisted of business expenses of the Judgment Debtor,

  leaving $50,172.35 which was provided to Mrs. Namm to reimburse her for her loan to the

  Judgment Debtor and part of her compensation. Mrs. Namm composed a list which states the

  purpose for each withdrawal, which is attached as Defendants’ Exhibit “D” her Amended

  Affidavit. Mrs. Namm composed a detailed listing which states the purpose for each withdrawal,

  which she attached to her Amended Affidavit as Exhibit “D”. See Amended Affidavit-Mrs.

  Namm at ¶80.

                 23.     Mrs. Namm loaned the Judgment Debtor a total of $78,689.67. When you

  add the $44,728.13 net amount from Plaintiff’s Exhibit 25 and the $50,172.35 net amount from

  Plaintiff’s Exhibit 26 and subtract from that the $78,689.67 loaned amount, Mrs. Namm’s salary

  is $16,210.81 for all her services to the Judgment Debtor from March 2015 to the present day.

  See Amended Affidavit-Mrs. Namm at ¶81.

                 24.     As to Plaintiff’s Paragraph 47, Mrs. Namm disputes this statement in that

  Mr. Namm did assist her from time to time in her work for the Judgment Debtor. See Amended

  Affidavit-Mrs. Namm at ¶99.

                 25.     Defendants do not dispute the statement made by Plaintiff in Paragraphs

  48.

                 26.     As to Plaintiff’s Paragraph 49, Mrs. Namm denies that statement in that

  she has given other explanations as to the transfer, whatever transfers are being referred to by


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  Plaintiff. If the statement is meant to refer only as to what she said or did not say during her

  deposition, the transcript speaks for itself. See Amended Affidavit-Mrs. Namm at ¶100.

                 27.     As to Plaintiff’s Paragraph 50, Mrs. Namm denies that statement in that

  there is evidence that some of the transfers, whatever transfers are being referred to by Plaintiff,

  were for her salary. If the statement is meant to refer only as to what she said or did not say

  during her deposition, the transcript speaks for itself. See Amended Affidavit-Mrs. Namm at ¶101.

                 28.     As to Plaintiff’s Paragraph 51, Mrs. Namm denies this statement. There

  were in fact payments regularly made by the Judgment Debtor for her salary and compensation,

  in unequal amounts. See Amended Affidavit-Mrs. Namm at ¶102.

                 29.     As to Plaintiff’s Paragraph 52, the tax returns speak for themselves. See

  Amended Affidavit-Mrs. Namm at ¶103.

                 30.     As to Plaintiff’s Paragraph 53, Mrs. Namm deposition transcript speaks

  for itself. Mrs. Namm is not an accountant and she has an accountant do her tax returns. See

  Amended Affidavit-Mrs. Namm at ¶104.

                 31.     As to Plaintiff’s Paragraph 54, 55 and 56, the tax returns attached speak

  for themselves.

                 32.     Defendants deny Plaintiff’s Paragraph 57 and 58. Judgment Debtor was

  not insolvent during the period of March 27, 2015 through June 30, 2016. Mr. King’s report says

  what it says, but Defendants disagree with Mr. King’s conclusions and opinions because the

  assets of Judgment Debtor exceeds its liabilities and but for Plaintiff’s intentional interference

  with the Judgment Debtor’s customers and Mr. King noting the entire debt due on the Notes each


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  month, the Judgment was making money. Mrs. Namm disagrees with Mr. King’s report and

  findings and disputes the facts, assumptions and method by which it determined that in his

  opinion the Judgment Debtor was insolvent, and notes that no affidavit was provided by Mr.

  King. See Affidavit-Mrs. Namm at ¶105.

                33.     Defendants do not dispute the statement made by Plaintiff in Paragraph 60.

                34.     Defendants admit Plaintiff’s Paragraph 61, but again the statement is

  misleading. Kaltec payments were always behind because payment on their invoice was due 30

  days after invoicing. See Affidavit-Mrs. Namm at ¶106.

                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was served by notice
  of electronic filing via CM/ECF to John E. Page, counsel for Plaintiff (jpage@sflp.law) and
  Bernice C. Lee, counsel for Plaintiff (blee@sflp.law), and to those other parties registered to
  receive such service on May 3, 2017.
                                                       /s/ Agustin R. Benitez
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